Case 2:22-cv-05729-GRB-JMW Document 7 Filed 09/30/22 Page 1 of 8 PageID #: 162




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                        x
PATRICIA WEISS, ESQ.
                                Plaintiff                  # 22-CV-05729 (GRB/JMW)

       - against-                                                  PLAINTIFF'S
                                                                 NOTICE OF APPEAL
STAlE OF NEW YORK, HONORABLE JUSTICE
JAMES HUDSON, and JOHN BUSIELLO
                       Defendants.
________________________________                 ~x




       NOTICE is hereby given that PATRICIA WEISS, ESQ.

Plaintiff in the above named case, hereby appeals to the United States Court of Appeals


for the Second CIrcuit from the "Docket Order" Judgment entered in this case on


September 27,2022 and the Clerk's closure of the case on September 27,2022, as


directed. A copy of the "Docket Order" is attached hereto. This appeal is from all parts


thereof: including District Judge Gary R. Brown's sua sponte dismissal of the suit.


 The EDNY Docket Sheet is its entirety is also attached.



Dated: September 30, 2022                   Respectfully submitted,
                                            lsi 'P~ 1tId44, &~,
                                             Patricia Weiss, Esq. [attorney pro se]
                                            Sag Harbor Shopping Cove
                                            78 Main Street Suite 14
                                            P.O. Box 751
                                            Sag Harbor, NY 11963
                                            Tel. (631) 725-4486 I Fax (631) 725-0295
                                            PWESQSAG@aol.com
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                                                                                                                 Dismissing#: 163
                                                                                                                            Case


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         To: nobody@nyed.uscourts.gov,
   Subject: Activity in Case 2:22-cv-05729-GRB-,IMW Weiss, Esq. v. State Of New York et al Order Dismissing Case
      Date: Tue, Sep 27, 2022 4:02 pm


  This is an automatic e-mail message generated by the CMlECF system. Please DO NOT RESPOND to this
  e-mail because the mail box is unattended.
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                                                          U.S. District Court

                                                      Eastern District of New York

  Notice of Electronic Filing

  The following transaction was entered on 9127/2022 at 4:02 PM EDT and filed on 9/27/2022
  Case Name:           Weiss, Esq. v. State OfNew York et a1
  Case Number:
  Filer:
  WARNING: CASE CLOSED on 09/2712022
  Document Number: No document attached

  Docket Text:
  ORDER DISMISSING CASE. Plaintiff, an attorney, filed this pro se action purporting to assert
  Sec. 1983 claims against a state Supreme Court justice and others, in connection with the
  imposition of a $10,000 sanction upon her for misconduct in state court, to wit: the filing of a
  frivolous notice of pendency. The complaint, while quite voluminous, is scant on discernible
  claims yet rife with issues. The most obvious problem presented is the fact that plaintiff
  complains of a state court order from August 2022, which, according to the express allegations
  of the complaint, is on appeal to the New York Appellate Division. Complaint, para. 29, 36, 38.
  As a result, plaintiff seeks, among other things, that this Court enjoin "the State of New York's
  Judiciary generally...from conducting any hearings concerning the imposition of sanctions and
  costs under 22 NYCRR Part 130 []n Plaintiff's attempt to end-run the state appellate process
  implicates both the Rooker-Feldman and Younger abstention doctrines.

  "Rooker Feldman establishes the principle that federal district courts lack jurisdiction over
  suits that are, in substance, appeals from state-court jUdgments. n MacPherson v. Town of
  Southampton, 664 F. SUppa 2d 203, 209 (E.D.N.Y. 2009). Here, review of the complaint reveals
  that all four of the prerequisites of Rooker Feldman are overwhelmingly satisfied. MacPherson
  V. Town of Southampton, 664 F. SUppa 2d 203, 210 (E.D.N.Y. 2009) ("First, the federal court
  plaintiff must have lost in state court. Second, the plaintiff must complain of injuries caused by
  a state-court judgment. Third, the plaintiff must invite district court review and rejection of that
  judgment. Fourth, the state-court judgment must have been 'rendered before the district court
  proceedings commenced. III)

  "Younger generally prohibits courts from 'taking jurisdiction over federal constitutional claims
  that involve or call into question ongoing state proceedings' so as to avoid unnecessary
  friction." Spargo V. New York State Common on Jud. Conduct, 351 F.3d 65, 75 (2d Cir. 2003).
  Again, the complaint alleges sufficient facts to satisfy the three elements of Younger
https://mail.aol.com/webmail-std/en-us/PrintMessage                                                                                 1/2
           Case
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  abstention. MacPherson v. Town of Southampton, 664 F. SUppa 2d 203, 21213 (E.D.N.Y. 2009)
  ("Younger abstention is mandatory when: (1) there is an ongoing state proceeding; (2) an
  important state interest is involved; and (3) the plaintiff has an adequate opportunity for
  judicial review of his constitutional claims during or after the proceeding.") Earlier today, the
  Second Circuit upheld the dismissal of an action, citing Younger abstention principles, in a
  highly similar case involving contempt sanctions. See Fischman V. Murphy, _ Fed.App'x_
  (2d Cir. Sept 27,2022) (noting that "a federal court should abstain from exercising jurisdiction
  when the case 'implicate[s] a [s]tates interest in enforcing the orders and judgments of its
  courts.')

  Based on the foregoing, the action is DISMISSED and the Clerk is directed to close the case.

  Ordered by Judge Gary R. Brown on 9/27/2022. (Brown, Gary)


  2:22-cv-05729-GRB-JMW Notice has been electronically mailed to:

  Patricia A. Weiss         pwesqsag@aol.com

  2:22-cv-05729-GRB-JMW Notice will not be electronically mailed to:

  Patricia Weiss, Esq.




https:llmail.aol.comlwebmail-std/en-us/PrintMessage                                                                                 212
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                                                           U.s. District Court
                                   Eastern District of New York (Central Islip)
                             CIVIL DOCKET FOR CASE #: 2:22-cv-05729-GRB-JMW


 Weiss, Esq. v. State Of New York et al                                             Date Filed: 09/25/2022
 Assigned to: Judge Gary R. Brown                                                   Date Terminated: 09/27/2022
 Referred to: Magistrate Judge James M. Wicks                                       Jury Demand: None
 Cause: 42:1983 Civil Rights Act                                                    Nature of Suit 440 Civil Rights: Other
                                                                                    Jurisdiction: Federal Question
 Plaintiff
 Patricia Weiss, Esq.                                                 represented by Patricia Weiss, Esq.
                                                                                     PROSE

                                                                                    Patricia A. Weiss
                                                                                    Patricia Weiss, Esq.
                                                                                    Sag Harbor Shopping Cove
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                                                                                    Fax: (631) 725-0295
                                                                                    Email: pwesqsag@aol.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 State Of New York

 Defendant
 Honorable Justice James Hudson

 Defendant
 John Busiello


  Date Filed~ ...   _0'   r; Docket Text
  0912512022              1 COMPLAINT against Defendants State ofNew York, Honorable Justice James Hudson,
                             and John Busiello [but it's not "against" PlaintiffPatricia Weiss, Esq.] against All
                             Defendants Was the Disclosure Statement on Civil Cover Sheet completed -YES" filed by
                             Patricia Weiss, Esq.. (Attachments: # 1 Exhibit I-Justice Hudson's Memorandum & Order
                             8-8-22, # 2. Exhibit 2- Associate Justice Wan's Order To Show Cause, # J. Exhibit 3­             1

                             Busiello's recorded Declaration of Covenants, #.1 Exhibit 4- Legal Invoice ofBusiello's
                             attorney William T. LaVelle, Esq., # ~ Civil Cover Sheet, # ~ Proposed Summons)
                             (Jakubowski, Laura) (Entered: 09/26/2022)
  09/25/2022                 FILING FEE: $ 402, receipt number ANYEDC-15973508 (Jakubowski, Laura) (Entered:
https:llecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?781412048676674-L_1_0-1                                                      1/3
            Case
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                              09126/2022)
  09/26/2022                  This attorney case opening filing has been checked for quality control. See the attachment
                              for corrections that were made, if any. (Bowens, Priscilla) (Additional attachrnent( s) added
                              on 9126/2022: # 1 Additional Corrections) (Jakubowski, Laura). (Entered: 09126/2022)
  0912612022                  Incorrect Document Entry Information. Complaint was entered as against plaintiff; entry
                              was deleted and re-entered as against defendants. (Jakubowski, Laura) (Entered:
                              09/26/2022)
                              Case Assigned to Judge Gary R. Brown and Magistrate Judge James M. Wicks. Please
                              download and review the Individual Practices of the assigned Judges, located on our
                              website. Attorneys are responsible for providing courtesy copies to judges where their
                                        Practices require such. (Jakubowski, Laura) (Entered: 09/26/2022)
                        .3. In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
                              the parties are notified that if all parties consent a United States magistrate judge of this
                              court is available to conduct all proceedings in this civil action including a (jury or nonjury)
                              trial and to order the entry of a fmaljudgment. Attached to the Notice is a blank copy of the
                              consent form that should be filled out, signed and filed electronically only if all parties wish
                              to consent. The form may also be accessed at the following link:
                              ht.1;p:llwww.uscourts.gov/uscourts/FormsAndFees/Forms/A0085.p-df. You may withhold
                              your consent without adverse substantive consequences. Do NOT return or file the
                              consent unless aU parties have signed the consent. (Jakubowski, Laura) (Entered:
                              09126/2022)
                 ·~···"4··--·-t-

  09/26/2022            1: Summons Issued as to All Defendants. (Jakubowski, Laura) (Entered: 09/2612022)
  09/26/2022            2 Notice of Related Case: The Civil Cover Sheet filed in this civil action indicates a
                              related case. (Jakubowski, Laura) (Entered: 09/26/2022)
  09/2712022                  ORDER DISMISSING CASE. Plaintiff, an attorney, filed this pro se action purporting to
                              assert Sec. 1983 claims against a state Supreme Court justice and others, in connection with
                              the imposition of a $10,000 sanction upon her for misconduct in state court, to wit: the
                              filing of a frivolous notice of pendency. The complaint, while quite voluminous, is scant on
                              discernible claims yet rife with issues. The most obvious problem presented is the fact that
                              plaintiff complains of a state court order from August 2022, which, according to the express
                              allegations of the complaint, is on appeal to the New York Appellate Division. Complaint,
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                              State ofNew York's Judiciary generally... from conducting any hearings concerning the
                              imposition of sanctions and costs under 22 NYCRR Part 130 []" Plaintiffs attempt to end­
                              run the state appellate process implicates both the Rooker-Feldman and Younger abstention
                              doctrines.

                              "Rooker Feldman establishes the principle that federal district courts lack jurisdiction over
                              suits that are, in substance, appeals from state-court judgments." MacPherson v. Town of
                              Southampton, 664 F. Supp. 2d 203, 209 (E.D.N.Y 2009). Here, review ofthe complaint
                              reveals that all four of the prerequisites of Rooker Feldman are overwhelmingly satisfied.
                              MacPherson v. Town of Southampton, 664 F. Supp. 2d 203, 210 (E.D.N.Y 2009) ("First,
                              the federal court plaintiff must have lost in state court. Second, the plaintiff must complain
                              of injuries caused by a state-court judgment. Third, the plaintiff must invite district court
                              review and rejection of that judgment. Fourth, the state-court judgment must have been
                              'rendered before the district court proceedings commenced."')

                              "Younger generally prohibits courts from 'taking jurisdiction over federal constitutional
                              claims that involve or call into question ongoing state proceedings' so as to avoid
                              unnecessary friction." Spargo v. New York State Comm'n on Jud. Conduct, 351 F.3d 65, 75
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                             (2d Cir. 2003). Again, the complaint alleges sufficient facts to satisfY the three elements of
                             Younger abstention. MacPherson v. Town of Southampton, 664 F. Supp. 2d 203,21213
                             (E.D.N.Y. 2009)("Younger abstention is mandatory when: (1) there is an ongoing state
                             proceeding; (2) an important state interest is involved; and (3) the plaintiff has an adequate
                             opportunity for judicial review of his constitutional claims during or after the proceeding.")
                             Earlier today, the Second Circuit upheld the dismissal of an action, citing Younger
                             abstention principles, in a highly similar case involving contempt sanctions. See Fischman
                             v. Murphy, _ Fed.App'x _ (2d Cir. Sept 27,2022) (noting that "a federal court should
                             abstain from exercising jurisdiction when the case 'implicate[s] a [s]tates interest in
                             enforcing the orders and judgments of its courts.')

                             Based on the foregoing, the action is DISMISSED and the Clerk is directed to close the
                             case.

                             Ordered by Judge Gary R. Brown on 9/27/2022. (Brown, Gary) (Entered: 09/27/2022)
  09/28/2022                 SUMMONS Returned Executed by Patricia Weiss, Esq.. State Of New York served on
                             9127/2022, answer due 10/18/2022. (Weiss, Patricia) (Entered: 0912812022)



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                                   Declaration of Service

       I, Patricia Weiss, declare, pursuant to 28 U.S.C. § 1746, under penalties of perjury

under the laws of the United States of America, that the following is true and correct:


      Today I served a copy of the foregoing Notice of Appeal by email and by USPS

mail upon:


AAG Lori Lee Pack
Office of the New York State Attorney General
300 Motor Parkway
Hauppauge, NY 11788-5191                               & lori.pack@ag.ny.gov



Dated: September 30, 2022                 Respectfully submitted,
                                          lsi 'P~ U'dU. &~,
                                          Patricia Weiss, Esq. [attorney pro se]
                                          Sag Harbor Shopping Cove
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                                          PWESQSAG@aol.com
Case 2:22-cv-05729-GRB-JMW Document 7 Filed 09/30/22 Page 8 of 8 PageID #: 169




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                   X
 PATRICIA WEISS, ESQ.
                            Plaintiff                # 22-CV -05729 (GRB/JMW)
      - against ~

STATE OF NEW YORK, HONORABLE JUSTICE
JAMES HUDSON, and JOHN BUSIELLO
                       Defendants.




 PLAINTIFF'S NOTICE OF APPEAL
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                                         Patricia Weiss, Esq.
                                          [Attorney pro se]
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